
682 S.E.2d 565 (2009)
55 Va. App. 18
Dolores DAVIS, Appellant,
v.
COUNTY OF FAIRFAX, Appellee.
Record No. 1697-08-4.
Court of Appeals of Virginia.
September 15, 2009.
Before FELTON, C.J., and ELDER, FRANK, HUMPHREYS, KELSEY, McCLANAHAN, HALEY, PETTY, BEALES, POWELL and ALSTON, JJ.
Upon a Petition for Rehearing En Banc
On August 14, 2009 came the appellant, by counsel, and filed a petition requesting that the Court set aside the judgment rendered herein on August 4, 2009, and grant a rehearing en banc on the issue(s) raised in the petition.
On consideration whereof, the petition for rehearing en banc is granted with regard to the issue(s) raised therein, the mandate entered herein on August 4, 2009 is stayed pending the decision of the Court en banc, and the appeal is reinstated on the docket of this Court.
Notwithstanding the provisions of Rule 5A:35, the following briefing schedule hereby is established: Appellant shall file an opening brief upon rehearing en banc within 21 days of the date of entry of this order; appellee shall file an appellee's brief upon rehearing en banc within 14 days of the date on which the opening brief is filed; and appellant may file a reply brief upon rehearing en banc within 14 days of the date on which the appellee's brief is filed. The appellant shall attach as an addendum to the opening brief upon rehearing en banc a copy of the opinion previously rendered by the Court in this matter. It is further ordered that the appellant shall file twelve additional copies of the appendix previously filed in this case.
